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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )     CRIMINAL ACTION NO.
                                   )       2:13cr133-MHT
TRAVIS ANDRE MOSS                  )           (WO)

                         OPINION AND ORDER

    This cause is before the court on the government’s

motion    to   continue    the   jury    selection    and    trial     of

defendant Travis Andre Moss.           Moss has filed a statement

confirming that he does not oppose the motion.                 For the

reasons    set   forth    below,   the    court   finds     that   jury

selection and trial, now set for January 27, 2014, should

be continued pursuant to 18 U.S.C. § 3161(h)(6) and

(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.        The Act provides in part:
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           "In any case in which a plea of not
           guilty is entered, the trial of a
           defendant charged in an information or
           indictment with the commission of an
           offense shall commence within seventy
           days from the filing date (and making
           public)    of   the    information    or
           indictment, or from the date the
           defendant has appeared before a judicial
           officer of the court in which such
           charge is pending, whichever date last
           occurs."

18 U.S.C. § 3161(c)(1).           The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”    § 3161(h)(7)(A).        In granting a continuance, the

court may consider, among other factors, whether the

failure to grant the continuance would “result in a

miscarriage       of    justice,"        §   3161(h)(7)(B)(i),           or

“[w]hether the case is so unusual or so complex ... that

it   is   unreasonable       to    expect    adequate     preparation”

without granting a continuance.              § 3161(h)(7)(B)(ii).

     The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

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interest of the public and defendant Moss in a speedy

trial.        First, Moss and the government are currently

engaged in plea note negotiations, and they both agree

that additional time is necessary to reach a potential

pretrial resolution of this case.

     In addition, the Speedy Trial Act excludes from the

70-day period, “A reasonable period of delay when the

defendant is joined for trial with a codefendant as to

whom the time for trial has not run and no motion for

severance has been granted.” § 3161(h)(6).                  In a previous

order,    the    court   continued      the    trial       of   Moss’s   co-

defendant, Terrance Maurice Thomas, but reserved judgment

as   to   a    continuance    for   Moss      until    a    motion   for   a

continuance      was   properly     before     the    court,      with   the

opportunity for the Moss’s interest to be protected.                     See

Order (Doc. No. 40).         Moss has now had the opportunity to

be represented as to his speedy-trial rights, and he has

stated in writing that he does not oppose a continuance

to the same trial date as Thomas.



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Accordingly, it is ORDERED as follows:

(1) The motion to continue filed by the government

      (doc. no. 42) is granted.

(2) The     jury    selection       and    trial    for   defendant

      Travis Andre Moss, now set for January 27, 2014,

      are reset for March 24, 2014, at 10:00 a.m., in

      Courtroom     2FMJ    of   the      Frank    M.   Johnson     Jr.

      United States Courthouse Complex, One Church

      Street, Montgomery, Alabama.

DONE, this the 13th day of January, 2014.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
